









Dismissed and Memorandum Opinion filed January 27, 2005









Dismissed and Memorandum Opinion filed January 27,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01061-CV

____________

&nbsp;

SOUTHWEST GARDEN CONDOMINIUM, Appellant

&nbsp;

V.

&nbsp;

SMITH EXECUTIVE PROPERTY MANAGEMENT, Appellee

&nbsp;



&nbsp;

On Appeal from the 270th District
Court

Harris County, Texas

Trial Court Cause No.
02-36482

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed October 11, 2004. &nbsp;No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On December 16, 2004, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 27, 2005.

Panel consists of Justices
Anderson, Hudson, and Frost.

&nbsp;





